                Case 23-30398 Document 11 Filed in TXSB on 02/11/23 Page 1 of 7
                                                                                                    United States Bankruptcy Court
                              IN THE UNITED STATES BANKRUPTCY COURT                                      Southern District of Texas
                                FOR THE SOUTHERN DISTRICT OF TEXAS                                          ENTERED
                                                                                                         February 08, 2023
In     Courtney Nichole Hernandez                                                                        Nathan Ochsner, Clerk
Re:    Debtor                                           Case No.: 23−30398




                   INITIAL ORDER FOR CASE MANAGEMENT OF CHAPTER 13 CASE

The following are orders of the Court:
      1. Payment of the Filing Fee.

             a. The debtor(s) shall pay the filing fee with the petition or promptly on the due date provided in an
                order allowing installment payments.

             b. If the filing fee or any installment is not timely paid, the Clerk shall issue a notice of pending
                dismissal of the case for failure to pay filing fees. The notice of pending dismissal shall be served on
                the debtor(s), debtor(s)' counsel and the chapter 13 Trustee.

             c. If the debtor(s) do not pay the filing fee or request a hearing within 10 days after the notice is served,
                the case may be dismissed without further notice.

      2. Filing the List of Creditors, Plan, Schedules and Statements.

             a. The list of creditors (with addresses) must be filed with the petition in the format prescribed by the
                Clerk unless a motion for extension of time under Federal Rule of Bankruptcy Procedure (FRBP)
                1007(a)(4) is filed with the petition.

             b. A motion for extension of time to file the list of creditors, plan, schedules or statements need be
                served only on the chapter 13 Trustee and on the U.S. Trustee. Because the FRBP require a creditor's
                meeting within 50 days, except for truly exceptional circumstances, the Court will not grant an
                extension beyond 25 days for filing the plan, schedules or statements.

             c. If the U.S. Trustee files a motion to dismiss under Bankruptcy Code §1307(c)(9) or (10), or if the
                chapter 13 Trustee files a motion to dismiss for delay prejudicial to creditors and the basis of that
                motion is that the debtor(s) failed to file the papers required by Bankruptcy Code §521 or failed to
                file a plan in accordance with FRBP 3015, the motion need not be served on any party except the
                debtor(s) and, if the debtor(s) are represented by counsel, on debtor(s)' counsel.


             d. If either the U.S. Trustee or the chapter 13 Trustee files a motion to dismiss under subparagraph (c)
                above, the motion need not include BLR 9013 language but shall include the following notice:

                A hearing will be conducted on this matter on [insert date of next chapter 13 panel following
                expiration of 15 days] at _____ a.m. If the debtor(s) object to the requested relief, the debtor(s) and
                counsel must attend the hearing. If no party objects to the requested relief within (ten) 10 days after
                the date that the motion was served, the United States Trustee or the chapter 13 Trustee may file a
                certificate of non−compliance and the Court may dismiss this case without actually conducting a
                hearing. (Bankruptcy Code §102(1)(B).)
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    3. Confirmation Hearings.

            a. Confirmation hearings will be continued beyond the initial setting only for good cause shown. A
               motion for continuance shall be filed setting forth the basis of the cause for the requested
               continuance. The chapter 13 Trustee is not authorized to grant a continuance of the confirmation
               hearing. Only the Court may grant a continuance of the confirmation hearing.

            b. Absent exceptional circumstances, the hearing on confirmation of the debtor(s) plan will not be
               continued to a date that is after 180 days after the commencement of the chapter 13 case.

            c. At least 5 days before confirmation, the chapter 13 Trustee shall submit a recommendation (which
               may be in summary chart form for all cases set for confirmation on a particular date) as to whether
               plans should be confirmed. The Court will not be bound by the chapter 13 Trustee's recommendation
               for or against confirmation. If the chapter 13 Trustee has recommended in favor of confirmation and
               if there are no objections to be considered at confirmation, the debtor(s) and debtor(s)' counsel need
               not attend. If the Court determines that a hearing is required on a plan for which confirmation is
               recommended by the trustee and on which no other objections were filed, the hearing will be
               rescheduled with notice to the debtor(s) and debtor(s)' counsel. If the chapter 13 Trustee has not
               recommended confirmation, the debtor(s) and debtor(s)' counsel must attend the hearing and meet the
               debtor(s)' statutory confirmation burden, except that attendance in the circumstances set forth in §7,
               §8, §9(b) and §9(c) below shall be according to those sections.

    4. Parties Required to Attend Hearings. This section applies to hearings that are set on the chapter 13
       trustee's scheduled panel.
            a. If a matter has been resolved concerning a motion or an objection, the parties may designate counsel
               for one of the settling parties to announce the settlement. Other counsel may, but are not required, to
               attend. If no person announces the settlement, the motion or objection may be denied for want of
               prosecution.

            b. If the Court declines to accept the announced agreement, the matter may be continued until the next
               chapter 13 panel date or the Court may make another disposition. All parties to the objection (i.e., the
               objecting party, the debtor(s) and the chapter 13 Trustee) must attend the continued hearing.

    5. Tax Transcripts. The Internal Revenue Service must send a tax transcript to the chapter 13 trustee, the
       debtors and the debtor's counsel, with detrainry to occur not later than 7 days prior to the initial date set for
       the §341 meeting of creditors.

    6. Service of this Order. A copy of this Order shall promptly be served by the Clerk on parties in interest,
       including the debtor(s) and debtor(s)' counsel and the United States Internal Revenue Service. The Internal
       Revenue Service shall be served at the addresses provided by them from time−to−time to the Clerk.

THIS ORDER IS EFFECTIVE, IN EACH CASE, ON THE DATE THE ORDER IS ENTERED IN THAT
CASE.

ISSUED AND ENTERED ON 2/8/23
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                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF TEXAS


In     Courtney Nichole Hernandez
Re:    Debtor                                            Case No.: 23−30398
                                                         Chapter: 13



                  INITIAL ORDER OUTLINING DEBTORS' INITIAL RESPONSIBILITIES

      The debtor(s) are ordered to:
      1. Make all payments due to the chapter 13 trustee. The first payment is due not later than 30 days after the
         petition date.


      2. File a proposed plan within 15 days, unless the plan was filed with the petition.

      3. File a proposed Wage Order, Order for EFT Payments (online banking), or Order for ACH Payments in
         compliance with Local Rule 1007(d).


      4. File all schedules and the statement of financial affairs within 15 days, unless these documents were filed
         with the petition.

      5. Attend the § 341 meeting of creditors as scheduled by the chapter 13 trustee.


      6. Attend the debtor education seminar within 45 days.

      7. Immediately file all delinquent tax returns.

      8. Comply with all Court orders.

      Failure to comply with this order is likely to result in a dismissal of this bankruptcy case. It may also result in a
prohibition against the filing of additional bankruptcy cases or a finding that the debtor(s) are in contempt of court.




Issued and Entered on 2/8/23
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                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS


In     Courtney Nichole Hernandez
Re:    Debtor                                            Case No.: 23−30398
                                                         Chapter: 13



   ORDER AUTHORIZING USE OF VEHICLES PURSUANT TO §363 AND PROVIDING ADEQUATE
                          PROTECTION TO LIEN HOLDERS

      1. The debtor(s) are authorized to use their vehicle(s) pursuant to §363 of the Bankruptcy Code, conditioned on
         the following:
              A. The debtor(s) must maintain insurance on the vehicle(s) in the amounts and with the coverages
                  pertaining to the vehicle itself required by the contract with any holder of a pre−petition lien on the
                  vehicle(s).

              B. Proof of insurance must be provided within 5 days of receipt of written request by the holder of a
                 vehicle lien.


              C. The debtors must timely make all required payments to the chapter 13 trustee.


             D. Not later than the date on which a plan is filed, file a proposed (x) wage order; (y) Order for EFT
                Payments (Online Banking) and Debtor's Certification; or (z) Order for ACH Payments and Debtor's
                Certification, each in the form approved by the Court.

      2. As additional adequate protection for the interest of the lien holder(s), the lien holder(s) are granted a claim
         pursuant to §503(b)(1). This lien is intended to be of the type described in §507(b) of the Bankruptcy code.
         The amount of the claim is equal to 1.25% of the value of the vehicle as of the petition date. Notwithstanding
         Bankruptcy Local Rule 4001−1(e), the adequate protection payments shall be calculated by the chapter 13
         trustee based on the average of the J.D. Power (or its successor(s) in interest) clean retail and average auction
         values (without options or mileage adjustments), unless the Court orders otherwise.


      3. The debtor(s) or any other party in interest may object to this order within 30 days of its entry. If a timely
         objection is filed, an evidentiary hearing will be conducted at the next chapter 13 panel. The objecting party
         is ordered to provide notice of the hearing date, attend the hearing and present evidence in support of the
         objection.




Issued and Entered on 2/8/23
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                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 23-30398-jpn
Courtney Nichole Hernandez                                                                                             Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 3
Date Rcvd: Feb 09, 2023                                               Form ID: io13cm                                                           Total Noticed: 42
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 11, 2023:
Recip ID                   Recipient Name and Address
db                     +   Courtney Nichole Hernandez, 10600 S. Gessner #49, Houston, TX 77071-1045
12368905               +   Central Fin, 3424 N First, Abilene, TX 79603-6912
12368907               +   Cleo/webbank, 594 Broadway, New York, NY 10012-3233
12368914               +   Fig Loans Texas Llc, 9450 Sw Gemini Drive, Beaverton, OR 97008-7105
12368916               +   Global Lending Service, 5 Concourse Pkwy, Atlanta, GA 30328-7104
12368918                   Green Dot Bank, Attn Credit Disputes, Provo, UT 84603
12368925               +   John E. Kostick, ATTN: Bankruptcy, 10600 S. Gessner #28, Houston, TX 77071-1041
12368929               +   Law Firm of Min Gyu Kim PLLC, 2100 West Loop South, Suite 805, Houston, TX 77027-3522
12368932               +   Possible Financial Inc, 500 Yale Ave. N, Seattle, WA 98109-5680
12368936               +   Reliant Energy, 1277 Country Club Ln, Fort Worth, TX 76112-2304
12368944               +   William E. Heitkamp, William E. Heitkamp, Chapter 13 Trustee, 9821 Katy Freeway, Suite 590, Houston, TX 77024-1294

TOTAL: 11

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
12368903                   Email/Text: CSBankruptcy@austincapitalbank.com
                                                                                        Feb 09 2023 20:11:00      Austin Capital Bank, Attn: Bankruptcy Dept, 8100
                                                                                                                  Shoal Creek Blvd, Ste 100, Austin, TX 78757
12368899               + Email/Text: bncmail@w-legal.com
                                                                                        Feb 09 2023 20:12:00      Alliant Capital Management - HDH, c/o Weinstein
                                                                                                                  & Riley, P.S., 2001 Western Ave., Ste. 400,
                                                                                                                  Seattle, WA 98121-3132
12368901                   Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Feb 09 2023 20:15:46      Ashley Funding Services, LLC, Resurgent Capital
                                                                                                                  Services, PO Box 10587, Greenville, SC
                                                                                                                  29603-0587
12368902               ^ MEBN
                                                                                        Feb 09 2023 20:07:04      Attorney General of the US, US Department of
                                                                                                                  Justice, 10th and Constitution, NW Room 5111,
                                                                                                                  Washington, DC 20530-0001
12368904               + Email/Text: CSBankruptcy@austincapitalbank.com
                                                                                        Feb 09 2023 20:11:00      Austin Capital Bank Ss, 8100 Shoal Creek, Austin,
                                                                                                                  TX 78757-8041
12368906               + Email/Text: bankruptcy.notifications@fisglobal.com
                                                                                        Feb 09 2023 20:12:00      ChexSystems, Attention: Consumer Relations,
                                                                                                                  7805 Hudson Road #100, Saint Paul, MN
                                                                                                                  55125-1595
12368909               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Feb 09 2023 20:15:44      Credit One Bank Na, Po Box 98872, Las Vegas,
                                                                                                                  NV 89193-8872
12368910               + Email/Text: electronicbkydocs@nelnet.net
                                                                                        Feb 09 2023 20:12:00      Dept Of Education/neln, Po Box 82561, Lincoln,
                                                                                                                  NE 68501-2561
12368912               ^ MEBN
                                                                                        Feb 09 2023 20:06:46      Equifax Information Services, PO Box 740256,
                                                                                                                  Atlanta, GA 30374-0256
12368913               ^ MEBN
                                                                                        Feb 09 2023 20:06:29      Experian, 475 Anton Blvd, Costa Mesa, CA
                                                                                                                  92626-7037
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District/off: 0541-4                                       User: ADIuser                                                     Page 2 of 3
Date Rcvd: Feb 09, 2023                                    Form ID: io13cm                                                 Total Noticed: 42
12368915         + Email/PDF: ais.fpc.ebn@aisinfo.com
                                                                       Feb 09 2023 20:16:00   First Premier Bank, 3820 N Louise Ave, Sioux
                                                                                              Falls, SD 57107-0145
12368917           Email/Text: bankruptcy@glsllc.com
                                                                       Feb 09 2023 20:11:00   Global Lending Services LLC, 1200 Brookfield
                                                                                              Blvd Ste 300, Greenville, South Carolina 29607
12368919           Email/Text: houston_bankruptcy@LGBS.com
                                                                       Feb 09 2023 20:12:00   Harris County, et al., c/o John P. Dillman,
                                                                                              Linebarger Goggan Blair & Sampson LLP, P.O.
                                                                                              Box 3064, Houston, Tx 77253-3064
12368920         + Email/Text: kathy_terry@sbcglobal.net
                                                                       Feb 09 2023 20:12:00   Homeowners Association of Gessner Place, c/o
                                                                                              Kathy Ann Terry, PO Box 690141, Houston, TX
                                                                                              77269-0141
12368923         + Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                       Feb 09 2023 20:12:00   Internal Revenue Service, 2970 Market Street,
                                                                                              Mailstop 5-Q30-133, Philadelphia, PA
                                                                                              19104-5002
12368926         + Email/Text: bankruptcy@kikoff.com
                                                                       Feb 09 2023 20:11:00   Kikoff Lend, 75 Broadway, San Francisco, CA
                                                                                              94111-1422
12368927         + Email/Text: bankruptcy@kikoff.com
                                                                       Feb 09 2023 20:11:00   Kikoff Lending Llc, 75 Broadway, San Francisco,
                                                                                              CA 94111-1422
12368928         + Email/Text: bncmail@w-legal.com
                                                                       Feb 09 2023 20:12:00   Landmark Strategy Group, LLC, c/o Weinstein &
                                                                                              Riley, P.S., 2001 Western Ave., Ste. 400, Seattle,
                                                                                              WA 98121-3132
12368930         + Email/Text: bankruptcy@moneylion.com
                                                                       Feb 09 2023 20:12:00   Moneylion Inc, Po Box 1547, Sandy, UT
                                                                                              84091-1547
12368931         + Email/Text: bankruptcy@ncaks.com
                                                                       Feb 09 2023 20:11:00   Nca, P.o. Box 550, Hutchinson, KS 67504-0550
12368933         + Email/Text: JCAP_BNC_Notices@jcap.com
                                                                       Feb 09 2023 20:12:00   Premier Bankcard, LLC, Jefferson Capital Systems
                                                                                              LLC Assignee, Po Box 7999, Saint Cloud MN
                                                                                              56302-7999
12368934         + Email/Text: bankruptcy@gopfs.com
                                                                       Feb 09 2023 20:12:00   Prestige Financial Services, BANKRUPTCY
                                                                                              DEPT, PO BOX 26707, Salt Lake City, UT
                                                                                              84126-0707
12368935           Email/Text: bnc-quantum@quantum3group.com
                                                                       Feb 09 2023 20:12:00   Quantum3 Group LLC as agent for, Sadino
                                                                                              Funding LLC, PO Box 788, Kirkland, WA
                                                                                              98083-0788
12368937         + Email/Text: bkinfo@ccfi.com
                                                                       Feb 09 2023 20:12:00   Speedy/Rapid Cash, P.O. Box 780408, Wichita,
                                                                                              KS 67278-0408
12368938           Email/Text: epr@telecheck.com
                                                                       Feb 09 2023 20:12:00   Telecheck, 5565 Glenridge Connector, N.E,
                                                                                              Atlanta, GA 30342
12368939         + Email/Text: documentfiling@lciinc.com
                                                                       Feb 09 2023 20:11:00   Telecom Self-reported, Po Box 4500, Allen, TX
                                                                                              75013-1311
12368940         ^ MEBN
                                                                       Feb 09 2023 20:06:36   Trans Union Corporation, P.O. Box 2000, Crum
                                                                                              Lynne, PA 19022
12368941         + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                       Feb 09 2023 20:12:00   US Trustee, 515 Rusk, Suite 3516, Houston, TX
                                                                                              77002-2604
12368942         ^ MEBN
                                                                       Feb 09 2023 20:06:32   Utility Self-reported, Po Box 4500, Allen, TX
                                                                                              75013-1311
12368943         + Email/PDF: resurgentbknotifications@resurgent.com
                                                                       Feb 09 2023 20:15:45   West Houston Medical Center, Resurgent Capital
                                                                                              Services, PO Box 1927, Greenville, SC
                                                                                              29602-1927
12368911         + Email/Text: bncmail@w-legal.com
                                                                       Feb 09 2023 20:12:00   eMoneyUSA Holdings, LLC, c/o Weinstein &
                                                                                              Riley, P.S., 2001 Western Ave., Ste. 400, Seattle,
                                                                                              WA 98121-3132

TOTAL: 31
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District/off: 0541-4                                               User: ADIuser                                                          Page 3 of 3
Date Rcvd: Feb 09, 2023                                            Form ID: io13cm                                                      Total Noticed: 42

                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
12368900                      Applied Bank
12368908        *+            Courtney Nichole Hernandez, 10600 S. Gessner #49, Houston, TX 77071-1045
12370455        *             INTERNAL REVENUE SERVICE, P O Box 7346, Philadelphia PA 19101-7346
12368921        *P++          INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATIONS, PO BOX 7346, PHILADELPHIA PA
                              19101-7346, address filed with court:, Internal Revenue Service, Special Procedures Branch, Insolvency Section, 1919 Smith Mail
                              Stop 5024, Houston, TX 77002
12368924        *P++          INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATIONS, PO BOX 7346, PHILADELPHIA PA
                              19101-7346, address filed with court:, Internal Revenue Services, 1919 Smith Street, M/S 5022HOU, Houston, TX 77002
12368922        *+            Internal Revenue Service, P.O. Box 7346, Philadelphia, PA 19101-7346

TOTAL: 1 Undeliverable, 5 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 11, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 8, 2023 at the address(es) listed
below:
Name                             Email Address
Min Gyu Kim
                                 on behalf of Debtor Courtney Nichole Hernandez mkimtx@jubileebk.net kimlylawbankruptcy@gmail.com

US Trustee
                                 USTPRegion07.HU.ECF@USDOJ.GOV

William E. Heitkamp
                                 heitkamp@ch13hou.com


TOTAL: 3
